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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK

OLACHI MEZU-NDUBUISI, an Individual         )
                                            )
                      Plaintiff,            ) Case No.: 24-cv-6387-EAW
vs.                                         )
                                            )
UNIVERSITY OF ROCHESTER, et.al.             )
                                            )
                                            )
                                            )
                      Defendants.           )




PLAINTIFF’S MEMORANDUM IN SUPPORT OF HER MOTION TO SEAL EXHIBIT
AG IN THE PLAINTIFF’S MEMORANDUM IN SUPPORT OF RENEWED MOTION
                  FOR A PRELIMINARY INJUNCTION



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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NEW YORK

 OLACHI MEZU-NDUBUISI, an Individual                  )
                                                      )
                             Plaintiff,               ) Case No.: 24-cv-6387-EAW
 vs.                                                  )
                                                      )
 UNIVERSITY OF ROCHESTER, et.al.                      )
                                                      )
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                            Defendants.               )
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   PLAINTIFF’S MEMORANDUM IN SUPPORT OF HER MOTION TO SEAL
                      EXHIBIT AG IN THE
  PLAINTIFF’S MEMORANDUM IN SUPPORT OF RENEWED MOTION FOR A
                   PRELIMINARY INJUNCTION

                                          INTRODUCTION

         Plaintiff, respectfully seeks leave of the court to file this motion to seal Exhibit AG –

Plaintiff’s September 14, 2024 response to Medical Executive Committee (“MEC”) that is

attached to the memorandum in support of her renewed motion for a preliminary injunction.

Plaintiff, Dr. Mezu-Ndubuisi is an Associate Professor with full tenure at University of

Rochester, who was hired on July 1, 2022, and the only Black faculty and neonatologist in

the Division of Neonatology of Nigerian national origin. Dr. Mezu-Ndubuisi was hired as a

clinician-scientist to conduct laboratory, clinical, global health and translational research,

including bench to bedside applications of research knowledge. On June 20, 2024, she filed

an employment discrimination complaint against all the defendants, raising allegations under

Title VII for racial discrimination, retaliation, disparate treatment, harassment/hostile and

abusive work environment, Denial of Procedural Due Process, Breach of Contract, New York

Executive Law §296, discriminatory retaliation (hereinafter “NYSHRL”).


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       On July 29, 2024, plaintiff filed an amended complaint alleging the same claims as in

the original complaint and also included 42 U.S.C. §1981 claim. On August 12, 2024, the

defendants filed a motion to dismiss the plaintiff’s amended complaint arguing among other

things that plaintiff had not presented any evidence to back up her racial discrimination

claim, disparate treatment, Title VII retaliation, harassment/hostile and abusive work

environment, retaliatory harassment and discrimination under New York Law, breach of

contract, due process and 42 U.S.C. Section 1981 claims.

       On August 14, 2024, plaintiff’s motion for preliminary injunction was heard by the

court where the defendants promised the judge that their Fair Hearing Process would address

all of the plaintiff’s claims. That plaintiff’s application for injunction was dismissed without

prejudice.

       In a letter dated August 28, 2024, the defendants’ Medical Executive Committee,

without notice or an opportunity to be heard by Dr. Mezu-Ndubuisi, recommended a denial

of her application for reappointment. On September 3, 2024, the plaintiff filed a response in

opposition to the defendants’ motion to dismiss her amended complaint.

       Plaintiff timely requested a Fair Hearing challenging the MEC adverse action in her

appeal dated September 14, 2024 – Exhibit AG which is one of the exhibits that was

submitted in support of her memorandum for renewed motion for preliminary injunction

sought to be filed under seal pursuant Rule 5.3 (c) of the Local Rules of Civil Procedure of

the United States District Court for the Western District of New York and Health Insurance

Portability and Accountability Act of 1996 (HIPAA).


                                        ARGUMENTS

1. Good Cause Exists for this filing.




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Exhibit AG - Dr. Mezu-Ndubuisi’s September 14, 2024 response to Medical Executive

Committee is the plaintiff’s appeal of the unjust denial of her application for reappointment.

The document contains CONFIDENTIAL, PRIVATE and SENSITIVE MEDICAL DATA

OF PATIENTS, treatment information and plaintiff’s private information. To comply with

the Health Insurance Portability and Accountability Act of 1996 (HIPAA) and the local rule

5.3, the exhibit needs to be filed under seal.

The exhibit is confidential and sensitive and is the plaintiff’s detailed response to the

defendants’ MEC and the plaintiff’s appeal and request for a Fair Hearing which is the

subject of the plaintiff’s renewed motion for preliminary injunction that is being filed at the

same time.

2. Relevance

Exhibit AG is extremely relevant to the litigation and defense of the plaintiff’s claims that she

was wrongfully stopped from working. The Exhibit is relevant in refuting the false

allegations that the defendants have leveled against the plaintiff in carrying out their

discriminatory and retaliatory actions against her. The Exhibit is crucial to her response to the

defendants’ MEC and is her appeal for Fair Hearing which is the subject matter of the

plaintiff’s renewed motion for preliminary injunction that is being filed in conjunction with

this motion to seal.



                                            Conclusion

Plaintiff will be severely prejudiced if this crucial Exhibit is not sealed as it is the plaintiff’s

September 14, 2024 response to the Defendants’ MEC and the plaintiff’s request for a Fair

Hearing which is the subject matter of the plaintiff’s renewed motion for a preliminary

injunction and is attached as an Exhibit to that motion. Her motion will be rendered




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meaningless without this Exhibit. Additionally, private, medical information of patients and

plaintiff’s private information will be preserved.


        Therefore, plaintiff respectfully requests that the Honorable Court enter the

Proposed Order submitted concurrently with this motion.




Dated: November 24, 2024                                  Respectfully Submitted,
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                                                       _ /s/Bruce Fein __________________
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                                                       Admitted Pro hac vice
                                                       Attorney for Plaintiff, Olachi Mezu-
                                                       Ndubuisi


                                CERTIFICATE OF SERVICE

I certify that on November 24, 2024, service of the foregoing and Exhibit AG were made to the

defendants’ counsel by email to: Thomas D’Antonio TDAntonio@hodgsonruss.com and to

Claire Wells CWells@hodgsonruss.com.


                                                        ____/s/C. Valerie Ibe, Esq. ________
                                                       Law Offices of C. Valerie Ibe, Inc.
                                                       Attorney for Plaintiff, Dr. Mezu-Ndubuisi




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